    Case: 1:21-cv-00264-WAL-EAH Document #: 19 Filed: 07/27/22 Page 1 of 9




                  IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                              DIVISION OF ST. CROIX

__________________________________________
                                          )
UNITED STATES OF AMERICA                  )
                                          )
                  Plaintiff,              )
                                          ) Civ. A. No. 1:21-cv-00264 (WAL/GWC)
                  v.                      )
                                          )
LIMETREE BAY REFINING, LLC                )
                                          )
                  and                     )
                                          )
LIMETREE BAY TERMINALS, LLC               )
                                          )
                  Defendants.             )
                                          )
__________________________________________)

                               FIFTH JOINT STATUS REPORT

        Plaintiff the United States of America (United States) and defendant Limetree Bay

Terminals, LLC (collectively the “Parties”) hereby submit the following Fifth Joint Status

Report. 1

        On July 12, 2021, the United States, acting at the request of the Administrator of the

United States Environmental Protection Agency (EPA), filed a Complaint (Dkt. #2) against

defendants Limetree Bay Refining, LLC and Limetree Bay Terminals, LLC (collectively,

“Limetree Bay”) under Section 303 of the Clean Air Act (CAA), 42 U.S.C. § 7603.

        Simultaneously with the filing of the Complaint, the United States filed an Unopposed

Motion to Stay All Deadlines (Dkt. #3) and a Joint Stipulation (Dkt. #4). As part of the Joint

Stipulation, the Parties agreed to provide a Joint Status Report to the Court sixty days after the



1
  Defendant Limetree Bay Refining, LLC is not joining in this Fifth Joint Status Report because
it ceased to exist on June 10, 2022.
    Case: 1:21-cv-00264-WAL-EAH Document #: 19 Filed: 07/27/22 Page 2 of 9




date of filing of the Joint Stipulation.

        On September 10, 2021, the Parties submitted a Joint Status Report (Dkt. # 5) and filed a

Motion to Stay All Deadlines (Dkt. # 6) until December 10, 2021. On September 10, 2021, the

Court granted the Order approving the stay of all deadlines and proceedings (Dkt. # 7). Pursuant

to the Order, the Parties were required to provide a Second Joint Status Report to the Court no

later than November 12, 2021.

        On November 12, 2021, the Parties submitted a Second Joint Status Report (Dkt. # 8).

On December 9, 2021, the Parties filed a Second Joint Motion to Stay All Deadlines (Dkt. # 9)

until February 21, 2022. On December 10, 2021, the Court granted the Order approving the stay

of all deadlines and proceedings until February 21, 2022 and requiring the Parties to file a Third

Joint Status Report no later than January 21, 2022.

        On January 21, 2022, the Parties submitted a Third Joint Status Report (Dkt. # 11). On

February 18, 2022, the Parties filed a Third Joint Motion to Stay All Deadlines (Dkt. # 12) until

May 20, 2022. On February 18, 2022, the Court granted the Order approving the stay of all

deadlines and proceedings until May 20, 2022 and requiring the Parties to File a Fourth Joint

Status Report not later than April 20, 2022.

        On April 20, 2022, the Parties submitted a Fourth Joint Status Report (Dkt. # 14). On

May 23, 2022, the Parties filed a Fourth Joint Motion to Stay All Deadlines (Dkt. # 16) until

August 22, 2022. On May 26, 2022, the Court granted the Order approving the stay of all

deadlines and proceedings until August 22, 2022, and requiring the Parties to file a Fifth Joint

Status Report no later than July 22, 2022.

        WHEREFORE, the Parties provide the below Fifth Joint Status Report to the Court:




                                                 2
     Case: 1:21-cv-00264-WAL-EAH Document #: 19 Filed: 07/27/22 Page 3 of 9




                                     Refinery Process Status

1.       The petroleum process units at the Refinery (Refinery Process Units) that were operated

by Limetree Bay Refining, LLC remain idled.

2.       The terminal operations operated by Limetree Bay Terminals, LLC remain in operation.

                           Limetree Bay Refining, LLC Bankruptcy

3.       On July 12, 2021, Limetree Bay Refining, LLC and certain related entities (but not

Limetree Bay Terminals, LLC) filed for relief under chapter 11 of title 11 of the United States

Code in the United States Bankruptcy Court for the Southern District of Texas. (Case No. 21-

32354, jointly administered with lead case 21-32351).

4.       On August 11, 2021, the Bankruptcy Court issued an Order Granting Debtors’

EMERGENCY Motion for Entry of Order: (I) Establishing Bidding and Sale Procedures; (II)

Approving the Sale of Assets; and (III) Granted Related Relief (Sale Order) (Case No. 21-32351,

ECF Doc. 392) approving the bidding and sale procedures of substantially all assets of the

Debtors. The Sale Order set deadlines for the sales process.

5.       On September 10, 2021, Debtors filed an Emergency Motion to Amend Milestones and

Bid Procedures Deadlines (Case No. 21-32351, ECF. Doc. 565).

6.       On September 15, 2021, the Bankruptcy Court issued an Order granting Debtors’

Emergency Motion to Amend Milestones and Bid Procedures Deadlines (Case No. 21-32351,

ECF. Doc. 583). The Order revised many of the sales process deadlines initially set by the Sale

Order.

7.       Between October 28, 2021 and December 16, 2021, Debtors filed a Notice of Extension

of Milestones and Bid Procedures Deadlines (Case No. 21-32351, ECF Doc. 696), Second

Notice of Extension of Milestones and Bid Procedures Deadlines (ECF Doc. 749), Third Notice



                                                 3
      Case: 1:21-cv-00264-WAL-EAH Document #: 19 Filed: 07/27/22 Page 4 of 9




of Extension of Milestones and Bid Procedures Deadlines (ECF Doc. 761), Fourth Notice of

Extension of Milestones and Bid Procedures Deadlines (ECF Doc. 799), Fifth Notice of

Extension of Milestones and Bid Procedures Deadlines (ECF No. 819), Notice of (I) Designation

of Winning Bid and Back-Up Bids and (II) Sixth Notice of Extension of Milestones and Bid

Procedures Deadlines (ECF Doc. 829), and Seventh Notice of Extension of Milestones and Bid

Procedures Deadlines (ECF Doc. 935), which provided details of the Bidding Procedures

deadlines, including the auction date and close sale hearing.

8.      The initial auction was held on November 18, 2021, but was reopened on December 17,

2021.

9.      On December 18, 2021, the Debtors filed the Notice of Designation of Winning Bid and

Back-up Bid (Case No. 21-32351, ECF Doc. 948).

10.     On December 21, 2021, the Sale Hearing was held and the Bankruptcy Court issued an

Order (1) Authorizing the Sale of All or Substantially All of the Debtors’ Assets Free and Clear

of Liens, Claims, Encumbrances, and Interests, (II) Authorizing the Debtors to Perform Under

the Asset Purchase Agreement, (III) Approving Procedures for the Assumption and Assignment

of Executory Contracts and Unexpired Leases, and (IV) Granting Related Relief (Case No.

32351, ECF 977) (“Sale Order”). The Sale Order requires, inter alia, the following:

           •   The winning bidder has until January 21, 2022 to close the sale transaction;

           •   If the winning bidder does not close the sale transaction, the back-up bidder has

               until January 26, 2022 to close the sale transaction; and

           •   The Purchaser must become party to, inter alia, the Joint Stipulation in United

               States v. Limetree Bay Refining, LLC, and Limetree Bay Terminals, LLC, Case

               No. 1:21-cv-00264.


                                                 4
      Case: 1:21-cv-00264-WAL-EAH Document #: 19 Filed: 07/27/22 Page 5 of 9




11.     West Indies Petroleum Limited and Port Hamilton Refining and Transportation, LLLP

are identified as the Purchaser in the Sale Order (including the Asset Purchase Agreement

attached as Exhibit 1 of the Sale Order).

12.     The sale transaction closed on January 21, 2022 and Purchaser took possession of all or

substantially all of the Debtors’ assets (Case No. 21-32351, ECF Doc. 1112).

13.     On April 4, 2022, Debtors filed a Combined Disclosure Statement and Chapter 11 Plan

of Liquidation of Limetree Bay Services, LLC and Affiliated Debtors (“Combined Disclosure

Statement and Plan”). (Case No. 21-32351, ECF Doc. 1252).

14.     On April 6, 2022, the Bankruptcy Court conditionally approved the Disclosure Statement

for solicitation of votes on the Combined Disclosure Statement and Plan (Case No. 21-32351,

ECF Doc. 1261).

15.     On April 14, Debtors filed a Notice of Filing Solicitation Materials and Combined

Disclosure Statement and Chapter 11 Plan of Liquidation of Limetree Bay Services, LLC and

Affiliated Debtors. The Combined Disclosure Statement and Plan was attached as Exhibit A

(Case No. 21-32351, ECF Doc. 1273 and 1273-1).

16.     Article VII.B of the Combined Disclosure Statement and Plan states that the Purchaser

means West Indies Petroleum Limited and Port Hamilton Refining and Transportation, LLLP,

collectively (Case No. 21-32351, ECF Doc. 1273-1).

17.     Article VII.B of the Combined Disclosure Statement and Plan provides that the Purchaser

may elect to reorganize Limetree Bay Refining, LLC “as a Transition Refinery Entity and issue

100% of its stock (the “New Common Stock”) to the Purchaser.” (emphasis in original) (ECF

Doc. 1273, Article VIII.B).

18.     On April 15, 2022, the Purchaser filed a notice of its election under Article VIII.B of the



                                                 5
      Case: 1:21-cv-00264-WAL-EAH Document #: 19 Filed: 07/27/22 Page 6 of 9




Combined Disclosure Statement and Plan to reorganize as the Transition Refinery Entity. (Case

No. 21-32351, ECF Doc. 1276).

19.     On May 16, 20211, the Debtors filed a proposed Combined Disclosure Statement and

Chapter 11 Plan of Liquidation of Limetree Bay Services, LLC and Affiliated Debtors, which

revised previous filed versions of the Plan (Case No. 21-32351, ECF Doc. 1404-5).

20.     On May 18, 2022, the Bankruptcy Court held a Confirmation Hearing to consider the

final approval and confirmation of the Combined Disclosure Statement and Chapter 11 Plan of

Liquidation of Limetree Bay Services, LLC and Affiliated Debtors (as amended, supplemented,

or otherwise modified, including an amended version of the Confirmation Plan (Case No. 21-

32351, ECF Doc. 1413-1)).

21.     On May 20, 2022, a hearing was held on the final form of the Order Approving

Disclosure Statement on Final Basis and Confirming Chapter 11 Plan of Liquidation of Limetree

Bay Services, LLC and Affiliated Debtors (“Plan Confirmation Order”). After the conclusion of

the hearing the Court approved the Plan Confirmation Order (Case No. 21-32351, ECF Doc.

1454)

22.     Paragraph 31 of the Plan Confirmation Order requires, inter alia, that the Transition

Refinery Entity “shall be fully bound by the provisions of” the Joint Stipulation and “shall

cooperate in the substitution of the Transition Refinery Entity as a named defendant” in the Joint

Stipulation.

23.     Exhibit A to the Plan Confirmation Order is the Combined Disclosure Statement and

Chapter 11 Plan of Liquidation of Limetree Bay Services, LLC and Affiliated Debtors date May

17, 2022. Article VIII.B of Exhibit A provides that “On the Effective Date , . . LBR shall

reorganize as the Transition Refinery and issue 100% of its membership Interests (the “New



                                                 6
      Case: 1:21-cv-00264-WAL-EAH Document #: 19 Filed: 07/27/22 Page 7 of 9




Interests”) to the Purchaser.” (Case No. 21-32351, ECF Doc. 1454).

24.     On June 10, 2022, the Debtors filed a Notice Of Occurrence of Effective Date to notify

that the Effective Date of the Plan and Disclosure Statement occurred on June 10, 2022. (Case

No. 21-32351, ECF Doc. 1511).

25.     Limetree Bay Refining, LLC ceased to exist as of the Effective Date.

26.     The Parties to the Joint Stipulation have begun discussing a modification to the Joint

Stipulation to reflect the changes in ownership of the Refinery and the requirements of the

Bankruptcy Court.

                               Compliance with Joint Stipulation

27.     During the period covered by this Fifth Joint Status Report (January 21, 2022 – July 22,

2022), the remaining steps of Limetree Bays’ Phase 2 Plan remain on hold.

28.     Since the sale closed on January 21, 2022, the Purchaser has continued to operate the five

sulfur dioxide (SO2) and five hydrogen sulfide (H2S) ambient air monitors and provide to EPA

with real time access to the air monitoring data.

                                                        Respectfully Submitted,
                                                        TODD KIM
                                                        Assistant Attorney General
                                                        Environment and Natural Resources
                                                        Division
                                                        United States Department of Justice


Date: July 27, 2022                                     /s/ Myles E. Flint, II
                                                        MYLES E. FLINT, II, Senior Counsel
                                                        Environmental Enforcement Section
                                                        Environment and Natural Resources
                                                        Division
                                                        United States Department of Justice
                                                        P.O. Box 7611
                                                        Ben Franklin Station
                                                        Washington, D.C. 20044-7611

                                                    7
Case: 1:21-cv-00264-WAL-EAH Document #: 19 Filed: 07/27/22 Page 8 of 9




                                      (202) 307-1859



                                      FOR DEFENDA T LIM ETREE BAY
                                      TERMfNALS, LLC:


                                      ~~                    With Consent
                                      MARK CHA
                                      General Counsel
                                      Limetree Bay Terminals, LLC
                                      One Estate Hope
                                      Christiansted, USV I 00820




                                  8
    Case: 1:21-cv-00264-WAL-EAH Document #: 19 Filed: 07/27/22 Page 9 of 9




                              CERTIFICATE OF SERVICE

        The undersigned certifies that on July 27, 2022, he filed the FIFTH JOINT STATUS
REPORT electronically with the Clerk of Court using the CM/ECF system, which will send
notifications of this filing to all who have made appearances.


The undersigned further certifies that the foregoing FIFTH JOINT STATUS REPORT will be
served on counsel for the Limetree Bay Refining, LLC, Limetree Bay Terminals, LLC, West
Indies Petroleum Limited, and Port Hamilton Refining and Transportation, LLLP by electronic
mail:

For Limetree Bay Refining, LLC
Mark DeLaquil
Matthew Thurlow
Baker & Hostetler LLP
Washington Square, Suite 1100
1050 Connecticut Avenue NW
Washington, D.C. 20036

For Limetree Bay Terminals, LLC
Mark Chavez
General Counsel
Limetree Bay Terminals, LLC
One Estate Hope
Christiansted, USVI 00820

For West Indies Petroleum Limited
Thomas Eagan
Rasco Klock Perez & Nieto
2555 Ponce de Leon Blvd, Suite 600
Coral Gables, Florida 33134

For Port Hamilton Refining and Transportation, LLLP
Julie Domike
Babst Calland, Attorneys at Law
505 9th Street NW, Suite 700
Washington. DC 20004



                                                  /s/ Myles E. Flint, II
                                                  MYLES E. FLINT, II




                                              9
